 Fill in this information to identify the case:

 Debtor 1              James R. Thorne
                       __________________________________________________________________

 Debtor 2               L. Darlene Thorne
                        ________________________________________________________________
 (Spouse, if filing)

                                         Northern
 United States Bankruptcy Court for the: ______________________              Ohio
                                                                District of __________
                                                                             (State)
 Case number            17-14998-aih
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                                U.S. Bank Trust National Association, as
                   Trustee of the Bungalow Series III Trust
 Name of creditor: _______________________________________                                                            2
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                           1583____ ____ ____
                                                         ____                            Must be at least 21 days after date       08        2020
                                                                                                                                   ____/____/_____
                                                                                                                                        01
                                                                                         of this notice


                                                                                         New total payment:                          778.09
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             258.13
                   Current escrow payment: $ _______________                           New escrow payment:           256.99
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1


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Debtor 1         James R. Thorne
                 _______________________________________________________                                                17-14998-aih
                                                                                                 Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.
    Xq I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
   /s/ Michelle Ghidotti
     Signature
                                                                                                 Date    07/02/2020
                                                                                                         ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                    Title   AUTHORIZED AGENT
                                                                                                         ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti/Berger LLP.
                    _________________________________________________________



 Address            1920 Old Tustin Ave.
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State        ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                             bknotifications@ghidottiberger.com
                                                                                                 Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                            page 2


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                                                                                                    Annual Escrow Account
                                                                                                     Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                       ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                             1461471583_ESCROWDISCSTMT_200625

                                                                              DATE: 06/25/20


           JAMES R THORNE                                                    PROPERTY ADDRESS
           L DARLENE THORNE                                                  861 W SHORE BLVD
           861 W SHORE BLVD                                                  SHEFFIELD LAKE, OH 44054
           SHEFFIELD LAKE, OH 44054


 PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
 YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
 IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 08/01/2020
 THROUGH 07/31/2021.
          -------- ANTICIPATED PAYMENTS FROM ESCROW 08/01/2020 TO 07/31/2021 ---------
 HOMEOWNERS INS                                                    $890.00
 COUNTY TAX                                                     $2,193.94
 TOTAL PAYMENTS FROM ESCROW                                     $3,083.94
 MONTHLY PAYMENT TO ESCROW                                         $256.99
           ------ ANTICIPATED ESCROW ACTIVITY 08/01/2020 TO 07/31/2021 ---------
                 ANTICIPATED PAYMENTS                                                        ESCROW BALANCE COMPARISON
MONTH       TO ESCROW           FROM ESCROW               DESCRIPTION                 ANTICIPATED              REQUIRED

                                                  STARTING BALANCE -->              $4,751.66                   $1,216.00
 AUG           $256.99                                                              $5,008.65                   $1,472.99
 SEP           $256.99                                                              $5,265.64                   $1,729.98
 OCT           $256.99                  $890.00 HOMEOWNERS INS                      $4,632.63                   $1,096.97
 NOV           $256.99                                                              $4,889.62                   $1,353.96
 DEC           $256.99                $1,096.97 COUNTY TAX                     L1-> $4,049.64              L2->   $513.98
 JAN           $256.99                                                              $4,306.63                     $770.97
 FEB           $256.99                                                              $4,563.62                   $1,027.96
 MAR           $256.99                                                              $4,820.61                   $1,284.95
 APR           $256.99                                                              $5,077.60                   $1,541.94
 MAY           $256.99                                                              $5,334.59                   $1,798.93
 JUN           $256.99                $1,096.97 COUNTY TAX                          $4,494.61                     $958.95
 JUL           $256.99                                                              $4,751.60                   $1,215.94
                --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
 IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
 ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $3,535.66.
                                        CALCULATION OF YOUR NEW PAYMENT
 PRIN & INTEREST                                                                  $521.10
 ESCROW PAYMENT                                                                   $256.99
 NEW PAYMENT EFFECTIVE 08/01/2020                                                 $778.09
 YOUR ESCROW CUSHION FOR THIS CYCLE IS $513.98.




                                  ********** Continued on reverse side ************




           Our records indicate that you have filed for Bankruptcy protection. As a result of your
           Bankruptcy filing, escrow account deficiencies prior to your filing date have been removed
           from calculation of your analysis, and they are now reflected as amounts due within your
           pre-petition arrearage. This Escrow Analysis Statement was prepared under the
           assumption that all escrow payments have been made in the amount required each
           month. The surplus funds indicated above are not an accurate reflection of your escrow
           account because no surplus funds will exist until all amounts are received towards your
           pre-petition arrearage.




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                                                                  ********** Continued from front **********


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 08/01/2019 AND ENDING 07/31/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.
   YOUR PAYMENT BREAKDOWN AS OF 08/01/2019 IS:
   PRIN & INTEREST                                                                                                                          $521.10
   ESCROW PAYMENT                                                                                                                           $258.13
   BORROWER PAYMENT                                                                                                                         $779.23
                        PAYMENTS TO ESCROW                                      PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                    ACTUAL                      DESCRIPTION                 PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                          $1,221.92                       $3,246.90-
   AUG                  $258.13                     $255.83         *                                                                                                       $1,480.05                       $2,991.07-
   SEP                  $258.13                     $255.83         *                                          $890.00 * HOMEOWNERS INS                                     $1,738.18             A->       $3,625.24-
   OCT                  $258.13                     $511.66         *              $895.00                               HOMEOWNERS INS                                     $1,101.31                       $3,113.58-
   NOV                  $258.13                     $255.83         *                                                                                                       $1,359.44                       $2,857.75-
   DEC                  $258.13                     $292.13         *          $1,101.31                               COUNTY TAX                                 T->         $516.26                       $2,565.62-
   JAN                  $258.13                     $511.66         *                                      $1,096.97 * COUNTY TAX                                             $774.39                       $3,150.93-
   FEB                  $258.13                     $255.83         *                                                                                                       $1,032.52                       $2,895.10-
   MAR                  $258.13                     $255.83         *                                                                                                       $1,290.65                       $2,639.27-
   APR                  $258.13                     $513.96         *                                                                                                       $1,548.78                       $2,125.31-
   MAY                  $258.13                     $258.13                                                                                                                 $1,806.91                       $1,867.18-
   JUN                  $258.13                     $302.01         *          $1,101.31                               COUNTY TAX                                             $963.73                       $2,662.14-
   JUN                                                                                                     $1,096.97 * COUNTY TAX
   JUL               $258.13
                  __________                        $0.00
                                               __________                    __________                  __________                                                         $1,221.86                       $2,662.14-
                   $3,097.56                    $3,668.70                     $3,097.62                   $3,083.94


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $516.26. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $3,625.24-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

   Determining your Shortage or Surplus
   Shortage:
    .
   Any shortage in your escrow account is usually caused by one the following items:
    . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
    . A projected increase in taxes for the upcoming year.
      The number of months elapsed from the time of these disbursements to the new payment effective date.
   Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
   shortage can be paid either partially or in full.
   Surplus:
    .
   A surplus in your escrow account is usually caused by one the following items:
    .  The insurance/taxes paid during the past year were lower than projected.
    .  A refund was received from the taxing authority or insurance carrier.
       Additional funds were applied to your escrow account.
   If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
   run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
   your escrow account.




Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS# 38078.
Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).

If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
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personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
                                    CERTIFICATE OF SERVICE
       On July 2, 2020, I served the foregoing documents described as Notice of mortgage payment
change on the following individuals by electronic means through the Court’s ECF program:
       COUNSEL FOR DEBTOR
       Matthew Alden
       malden@lawlh.com

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Maben May
                                                          Maben May




       On July 2, 2020, I served the foregoing documents described as Notice of mortgage payment
change on the following individuals by depositing true copies thereof in the United States mail at Santa
Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
DEBTOR
James R. Thorne
861 West Shore Boulevard
Sheffield Lake, OH 44054

L. Darlene Thorne
861 West Shore Boulevard
Sheffield Lake, OH 44054

Trustee
Lauren A. Helbling
200 Public Square Suite 3860
Cleveland, OH 44114-2321

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                         /s/ Maben May
                                                         Maben May




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